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 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:24-CR-00110-JLT-SKO
12                                Plaintiff,
                                                          PRELIMINARY ORDER OF
13                        v.                              FORFEITURE
14   ROMAN RODRIGUEZ,
15                               Defendant.
16

17           Based upon the plea agreement entered into between the United States of America and defendant

18 Roman Rodriguez, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

19           1.     Pursuant to 18 U.S.C. § 2253(a), defendant Roman Rodriguez’s interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of according

21 to law:

22                  a.     Apple iPhone 15,
                    b.     Samsung Galaxy S24,
23                  c.     SanDisk 128 Gigabyte USB Flash Drive, and
                    d.     MSI Laptop Model MS-174K and Drive.
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25           2.     The above-listed property was used or intended to be used to commit and to promote the
26 commission of a violation of 18 U.S.C. § 2252(a)(2).

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29                                                                       Preliminary Order of Forfeiture


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 1          3.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by U.S. Customs

 3 and Border Protection, in its secure custody and control.

 4          4.      a.      Pursuant to 18 U.S.C. § 2253(b), incorporating 21 U.S.C. § 853(n), and Local Rule

 5 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice of

 6 the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 7 General may direct shall be posted for at least 30 consecutive days on the official internet government

 8 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct
 9 written notice to any person known to have alleged an interest in the property that is the subject of the

10 order of forfeiture as a substitute for published notice as to those persons so notified.

11                  b.      This notice shall state that any person, other than the defendant, asserting a legal

12 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

13 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

14 within thirty (30) days from receipt of direct written notice, whichever is earlier.

15          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

16 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 2253(a), in which all interests will be

17 addressed.

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     IT IS SO ORDERED.
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20      Dated:     January 22, 2025

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29                                                                             Preliminary Order of Forfeiture


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